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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO

FREDERICK S. BREIDENBACH et al                       CASE NO: 3:92-CV-00184


       PLAINTIFFS                                    (JUDGE RICE)



-VS-
                                                     ENTRY APPROVING
INTERNATIONAL BROTHERHOOD OF                         SUBSTITUTION OF
ELECTRICAL WORKERS LOCAL NO. 82                      COUNSEL
JOINT PENSION FUND, et al.



       DEFENDANTS

       For good cause shown, the Motion for Substitution of Counsel is hereby granted

whereby John R. Doll is substituted for Jeffrey R. McQuiston as counsel for Defendant

Former Trustees of IBEW Local No. 82.



IT IS SO ORDERED.


                                        Judge Walter H. Rice


ls/Jeffrey R. McOuiston
Jeffrey R. McQuiston (#0027605)
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Per telephone authorization of 9/ I 0/2021

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                              CERTIFICATE OF SERVICE

        I hereby certify that on the date of filing herein, I electronically filed the foregoing
with the Clerk of Court, by way of the CM/ECF system which will send notification to all
parties of record.

                                    ls/Jeffrey R. McQuiston
                                    Jeffrey R. McQuiston
